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 1 McGREGOR W. SCOTT
   United States Attorney
 2 MATTHEW D. SEGAL
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
   Attorneys for Plaintiff
 6 United States of America

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-234 TLN

11                                Plaintiff,             ORDER ON DEFENDANT’S REQUEST TO BE
                                                         SENTENCED IN ABSTENTIA
12                          v.

13   DERIAN EIDSON,

14                                Defendant.

15

16          At the unopposed request of the defendant, Pursuant to Federal Rule of Criminal Procedure

17 43(c)(1)(B), the Court accepts defendant Eidson’s knowing, voluntary, and intelligent waiver of

18 appearance at her resentencing.

19          Pursuant to Title 18, United States Code, Section 3621(d), the Court orders that the U.S. Marshal

20 return defendant Eidson to a prison facility.

21          Defendant Eidson’s resentencing shall be held on February 21, 2019 at 9:30 a.m.. At the

22 commencement of proceedings, counsel for the defendant shall state the last time that he spoke to the

23 defendant and shall state whether she still desires to be sentenced in abstentia.

24          SO ORDERED.

25 Dated: November 20, 2018

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27
                                                       Troy L. Nunley
28                                                     United States District Judge


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